Case 2:24-cv-08187-SVW-AJR                   Document 55             Filed 12/09/24        Page 1 of 2 Page ID
                                                  #:342
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 LINDA COOPER                                                       2:24−cv−08187−SVW−AJR
                                                  Plaintiff(s),

          v.
 COUNTY OF SAN LUIS OBISPO, et al.
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).               FILED DOCUMENT




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your filed document:

 Date Filed:         12/6/2024
 Document No.:             53, 54
 Title of Document:             ANSWER OF JANET BROWN (Doc 53), ANSWER OF BONNIE
 SAYERS (Doc 54)
 ERROR(S) WITH DOCUMENT:

 Local Rule 11−3.8 title page is missing, incomplete, or incorrect.




 Other:

 Incorrect district judge is on the title page and the case number. This case is assigned to District Judge Stephen
 V. Wilson. The correct case number is 2:24−cv−08187−SVW−AJRx
 Note:    In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
          document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in
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                                                   Clerk, U.S. District Court

 Dated: December 9, 2024                           By: /s/ Alison Bandek alison_bandek@cacd.uscourts.gov
                                                      Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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                                                     #:343 for Local Rules, General Orders, and applicable forms.
    Please refer to the Court’s website at www.cacd.uscourts.gov




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